         Case 23-13237-pmm          Doc 206-1 Filed 03/14/24 Entered 03/14/24 10:21:11                         Desc
                                           Transcript Page 1 of 1
                                   UNITED STATES BANKRUPTCY COURT
                                   EASTERN DISTRICT OF PENNSYLVANIA



In re:                                                     : Chapter 11


Tri−State Paper, Inc.                                      : Bankruptcy 23−13237−pmm
                Debtor(s)

                               NOTICE OF FILING OF TRANSCRIPT
                   AND OF DEADLINES RELATED TO RESTRICTION AND REDACTION




A transcript of the proceeding held on March 13, 2024 was filed on March 14, 2024.

The following deadlines apply:

The parties have until 3/21/24 (seven (7) calendar days from the date of filing of the transcript) to file with the court
a Notice of Intent to request Redaction of this transcript. The deadline for filing a request for redaction is 4/4/24 (21
days from the date of filing of the transcript).

If a Request for redaction is filed, the redacted transcript is due 4/15/24 (31 days from the date of filing of the
transcript).

If no such notice is filed, the transcript may be made available for remote electronic access upon expiration of the
restriction period, which is 6/12/24 (90 calendar days from the date of filing of the transcript) unless extended by
court order.

To review the transcript for redaction purposes, you may purchase a copy from the transcriber (contact the court for
contact information) or you may view the document at the clerk's office public terminal.


                                                           For the Court



Date: 3/14/24                                              Timothy B. McGrath
                                                           Clerk of Court


                                                           By:Christopher Caruso
                                                                    Deputy Clerk
                                                                                                                            206 − 169, 20
